        Case 2:13-cv-20000-RDP Document 3013 Filed 12/13/22 Page 1 of 5                                  FILED
                                                                                                2022 Dec-13 PM 05:24
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION


   IN RE: BLUE CROSS BLUE SHIELD                     Master File No. 2:13-CV-20000-RDP
       ANTITRUST LITIGATION
            (MDL No. 2406)                           This document relates to Subscriber-Track
                                                     cases.


    MEMORANDUM IN SUPPORT OF WELLS FARGO’S UNOPPOSED MOTION
         TO WITHDRAW REQUEST FOR EXCLUSION AND REJOIN
                 THE SUBSCRIBER DAMAGES CLASS

       Wells Fargo & Company and the Wells Fargo & Company Health Plan (for Eligible Active

Employees and Their Dependents) (collectively, “Wells Fargo”) respectfully request permission

to withdraw their request for exclusion from the Subscriber Settlement Damages Class (“Damages

Class”). Allowing Wells Fargo to rejoin the Damages Class would further streamline this

litigation, avoid the prospect of a costly opt-out action, and promote the finality of the Subscriber

Class Settlement. Further, Wells Fargo rejoining the Damages Class will not afford it any special

benefit or prejudice other members of the Class. Settlement Class Counsel and Defendants consent

to this Motion.

                                        BACKGROUND

      On November 30, 2020, the Court preliminarily approved the Subscriber Class Settlement.

See ECF No. 2641. Pursuant to the Notice Plan, class members had access to a copy of the

Settlement Agreement during the class notice period. See ECF No. 2812-2, ¶ 10. The Settlement

Agreement specifically lists Wells Fargo as one of the “Qualified National Accounts” included in

the putative settlement class. See ECF No. 2610-2, at 96.




                                                 1
        Case 2:13-cv-20000-RDP Document 3013 Filed 12/13/22 Page 2 of 5




      An extensive notice period followed. On April 28, 2022, two business days before the close

of the notice and opt-out period for Self-Funded Entity Accounts, ECF No. 2897 at ¶ 5, Wells

Fargo submitted a request to be excluded from the Damages Class. See Ex. A to Decl. of B. Parker

Miller. On August 9, 2022, the Court issued a Final Order and Judgment Granting Approval of

Subscriber Class Action Settlement and Appointing Settlement Administrator (“Final Approval

Order”). ECF No. 2931; see also ECF No. 2939 (amending final approval order). Distribution of

funds to the Damages Class has not yet occurred.

       After the Court’s Final Approval Order, Wells Fargo re-evaluated its position and now

desires to rejoin the Damages Class. Decl. of B. Parker Miller, ¶ 2. Wells Fargo has not negotiated

any settlement of its claims against Defendants in this matter outside of the Subscriber Settlement

Agreement. Id. ¶ 3.

                                           ARGUMENT

       The Court has authority to allow Wells Fargo to rejoin the Damages Class. In its Final

Approval Order, the Court retained “continuing jurisdiction over . . . implementation of the

Settlement Agreement and any award or distribution of the Settlement Fund” and over all parties

“for the purpose of construing, enforcing, and administering the terms of the Settlement Agreement

consistent with those terms.” ECF No. 2931 at 89-90. As part of that ongoing jurisdiction, the

Court may allow former opt-outs to rejoin the class before settlement funds are distributed. See,

e.g., In re Urethane Antitrust Litig., 2008 WL 5215980, at *1 (D. Kan. Dec. 12, 2008) (granting

opt-out’s request to withdraw its request for exclusion after final approval of settlement but before

distribution of settlement funds because “[i]n its final approval order in this case, the court

specifically retained exclusive jurisdiction over the distribution of the settlement proceeds”); In re

Elec. Weld Steel Tubing Antitrust Litig., 1982 WL 1873, at *3 (E.D. Pa. June 30, 1982) (allowing




                                                  2
         Case 2:13-cv-20000-RDP Document 3013 Filed 12/13/22 Page 3 of 5




opt-out to rejoin settlement class after judgment had been entered); see also Fed. R. Civ. P. 60(b)(6)

(court may relieve party from final order for “any other reason that justifies relief”).

        “In large, multidistrict antitrust class actions, . . . courts have repeatedly allowed putative

class members to rejoin a class at the settlement stage.” In re Static Random Access Memory

Antitrust Litig., 2013 WL 1222690, at *1 (N.D. Cal. Mar. 25, 2013). Courts generally grant such

requests to rejoin a class unless (1) the opt-out obtained a special benefit in exchange for

withdrawing their opt-out request or (2) other class members would be prejudiced. See, e.g., In re

Urethane Antitrust Litig., 2008 WL 5215980, at *1-8 (summarizing examples); In re MoneyGram

Int’l, Inc. Secs. Litig., 2011 WL 855311 at *2-3 (D. Minn. Mar. 9, 2011) (denying request to rejoin

because the opt-out’s decision was used “to gain leverage for a separate settlement”).

        Neither exception applies here. First, Wells Fargo has not negotiated a separate settlement

or other special benefit in exchange for withdrawing its opt out and rejoining the class. It only

seeks the benefits to which it would be entitled as a member of the Damages Class. Second, other

members of the class would not be prejudiced. As the Court found in In re Urethane Antitrust

Litigation, “the class members cannot have relied to their detriment on [the opt-out’s] original opt-

out because they chose to participate in the settlement while [the opt-out] was still a potential class

member.” 2008 WL 5215980, at *2. Other class members will therefore “receive in the settlement

the same amount they would have had [the opt-out] never opted out to begin with.” Id.; see also

In re Electrical Carbon Products Antitrust Litig., 447 F. Supp. 2d 389, 397 (D.N.J. 2006) (finding

no prejudice because the opt-out’s original decision “could not have been a factor in the decision

of any particular class members to participate.”). Nor will Wells Fargo rejoining the class delay

distribution of funds, which will not occur until after appeals are resolved. See ECF No. 2610-2

at ¶¶ 8, 26.




                                                  3
          Case 2:13-cv-20000-RDP Document 3013 Filed 12/13/22 Page 4 of 5




       The interests of judicial economy and the policy behind Federal Rule of Civil Procedure

23 further support Wells Fargo’s request. Allowing Wells Fargo to rejoin the class would save the

Court and the parties the time and expense of potentially litigating an opt-out case and revisiting

the same facts and legal issues resolved in Subscriber Class Settlement. See In re Elec. Weld Steel

Tubing Antitrust Litig., 1982 WL at *2 (“The policy embodied in Rule 23 is the prevention of

multiple relitigation of the same factual and legal issues.”); In re Urethane Antitrust Litig., 2008

WL 5215980, at *3 (allowing opt-out to rejoin class would serve the purpose of Rule 23). By

reducing the number of opt-out disputes, it would also reinforce the finality of the Subscriber Class

Settlement. Settlement Class Counsel and Defendants also agree that the best interests of the

parties are served if Wells Fargo is permitted to rejoin the class and, as a result, consent to this

Motion.

                                         CONCLUSION

      For the foregoing reasons, Wells Fargo respectfully requests that the Court grant this Motion

to withdraw its request for exclusion and permit Wells Fargo to rejoin the Damages Class.


Dated: December 13, 2022                                 Respectfully Submitted,

                                                         /s/ Hirshel M. Hall
                                                         Hirshel M. Hall
                                                         Bar No. 5056H30I
                                                         ALSTON & BIRD LLP
                                                         1201 West Peachtree Street
                                                         Atlanta, GA 30309
                                                         Telephone: (404) 881-7000
                                                         Facsimile: (404) 881-7777
                                                         Hirshel.Hall@alston.com

                                                        Counsel for Wells Fargo & Company and
                                                        the Wells Fargo & Company Health Plan




                                                 4
        Case 2:13-cv-20000-RDP Document 3013 Filed 12/13/22 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 13, 2022, the foregoing was electronically filed with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.

                                                           /s/ Hirshel M. Hall
                                                           Hirshel M. Hall




                                                5
